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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIODIVISION

 ALBERETTA G. WILLIAMS,                       §
 Plaintiff                                    §
                                              §
 v.                                           §        Case No. SA-22-CA-00624-XR
                                              §
 SELECT PORTFOLIO SERVICING,                  §
 INC.,                                        §
 Defendant

                                            ORDER

       On this date, the Court considered the status of this case. On June 22, 2022, the Court

ordered the parties to confer and submit (1) a proposed scheduling order and (2) a Rule 26(f)

Report by July 22, 2022. ECF No. 4. The parties have submitted no such proposed scheduling

order or Rule 26(f) Report and have not requested an extension of time in which to do so.

       Therefore, the Court ORDERS the parties to submit a proposed scheduling order and a

Rule 26(f) Report, in compliance with this Court’s previous order of June 22, 2022, no later than

August 12, 2022.

       It is so ORDERED.

       SIGNED this 1st day of August, 2022.




                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE
